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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-CIV-81205-RAR

  SECURITIES AND EXCHANGE
  COMMISSION,

         Plaintiff,

  v.

  COMPLETE BUSINESS SOLUTIONS
  GROUP, INC. d/b/a PAR FUNDING, et al.,

        Defendants.
  _______________________________/

                                 ORDER REFERRING MOTION

         Pursuant to 28 U.S.C. section 636(b)(1)(A) and the Magistrate Judge Rules of the Local

  Rules of the Southern District of Florida, the above-styled case is referred to United States

  Magistrate Judge Bruce E. Reinhart to take all action as required by law on the following motion:

                 •    Receiver’s First Application for Allowance and Payment of
                      Professionals’ Fees and Reimbursement of Expenses for July 27,
                      2020 – September 30, 2020 [ECF No. 438].

         It shall be the responsibility of the parties in this case to note the name of Magistrate Judge

  Reinhart on all motions and submissions pertaining to the referenced motion.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 22nd day of December, 2020.



                                                           _________________________________
                                                           RODOLFO A. RUIZ II
                                                           UNITED STATES DISTRICT JUDGE
